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                                 UNITED STATES DISTRICT COURT
17
                                      DISTRICT OF NEVADA
18
         SECURITIES AND EXCHANGE                        Case No. 2:24-cv-00707-JCM-MDC
19       COMMISSION,
20
                   Plaintiff,                           STIPULATION AND ORDER
21                                                      TO EXTEND DEADLINES
             vs.
22                                                      [FIRST REQUEST]
         LIXIN AZARMEHR, JL REAL ESTATE
23       DEVELOPMENT CORPORATION,
         NEVADA SKILLED NURSING LENDER,
24       LLC, and NEVADA SKILLED NURSING
         DEVELOPMENT, LLC,
25

26                 Defendants.

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 1                Plaintiff United States Securities and Exchange Commission (“Plaintiff”) commenced this

 2    action on April 11, 2024. On April 19, 2024, pursuant to the SEC’s request to waive service of the

 3    summons, each of Defendants LIXIN AZARMEHR, JL REAL ESTATE DEVELOPMENT

 4    CORPORATION, NEVADA SKILLED NURSING LENDER, LLC, and NEVADA SKILLED

 5    NURSING DEVELOPMENT, LLC (collectively “Defendants”), filed a Waiver of the Service of

 6    Summons (“Waivers”). (ECF No. 2). Pursuant to the Waivers, Defendants were required to file

 7    their answers or motions under Fed. R. Civ. P. 12 by June 17, 2024. Id.

 8                Late last week, Defendants retained the undersigned defense counsel. Defendants now seek

 9    a 30-day extension of time to file their answers or motions under Rule 12. After consultation among

10    counsel, Plaintiff consented to Defendants’ extension request on the condition that Defendants

11    consent that Plaintiff shall have 30 days to file its points and authorities in response to any Rule 12

12    motion(s) Defendants may file.

13                                                       I.

14                                                STIPULATION

15           In view of the foregoing, Plaintiff and Defendants agree and stipulate, subject to the Court’s
16    approval, that (i) the time for Defendants to file their answers or Rule 12 motions shall be
17    extended to July 17, 2024, and (ii) if Defendants respond to the Complaint by filing a Rule 12
18    motion(s), Plaintiff’s time to file its points and authorities in response to such motion(s) shall be
19    extended from 14 days to 30 days.
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 1    /s/    Chad Aronson                      /s/    Rebecca R. Dunnan
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